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                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                               )
                                                        )
                                                        )
        v.                                              )   NO. 1:21-CR-00603-RC-1
                                                        )
 CHRISTOPHER MICHAEL CUNNINGHAM                         )
                                                        )

                               SENTENCING MEMORANDUM

       Comes now Mr. Cunningham, through counsel, and requests that this Honorable Court

sentence him to a three-year term of probation. He has reviewed the PSR with counsel and has no

objections to the information included therein. Furthermore, he has reviewed the Sentencing

Recommendation (D.E. 25) and agrees with the recommendation for term of three years probation.

I.      IMPORTANT SENTENCING FACTORS
       In imposing a sentence, the court must consider the factors set forth in § 3553(a)(1)-(7).

These additional factors include the nature and circumstances of the offense, the history and

characteristics of the offender, the need to protect the public, and the need to avoid unwarranted

sentencing disparities. See 18 U.S.C. § 3553(a)(1), (7).

       A.       The Nature of The Offense

       Mr. Cunningham acknowledges the seriousness of the event and now realizes the full

impact of his actions, for which he is remorseful. An individualized assessment of his actions

reveals several key factors in favor of probation. First and foremost, Mr. Cunningham did not

engage in any acts of violence. He did not clash with police, and he was unarmed while in DC.

Although he witnessed a shoving incident between an officer and other persons in the crowd, Mr.

Cunningham did not assault law enforcement, nor did he encourage others to engage in violence.

In fact, he did the opposite when he told others to stop.
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       Secondly, Mr. Cunningham had no intention on breaching the capitol when he left

Tennessee on January 5, 2022. Furthermore, he is not a part of any group, association, or

organization that traveled to the Capitol with plans of siege, treason, and violence.

       Mr. Cunningham’s entrance into the Capitol and actions while inside are also mitigating

factors in favor of probation. For example, Mr. Cunningham was not involved with the violent

breach into the Capitol. The windows had been busted and the doors breached at least 7 minutes

prior to his arrival. (PSR at ¶21) To be clear, Mr. Cunningham knew that he did not have

permission to enter the Capitol, yet he entered anyway. He admits to being caught up in the

moment and entering the Capitol through an open door. (PSR at ¶21) He simply points out that

he played no leadership role into the breach and did not destroy property to gain entrance.

       Clearly, Mr. Cunningham had no pre-planned agenda to thwart democracy. He possessed

no weapons, tactical gear, maps, or any other items needed to overthrow the Government.

Similarly, Mr. Cunningham had no plan or even sense of direction once inside. He followed the

crowd through various areas. While he remained inside for 1.5 hours, at no time did he commit

acts of violence, destruction, vandalism, or theft. Furthermore, Mr. Cunningham did not

participate with any groups who may have had sinister motives. According to Mr. Cunningham,

“I went to DC figuring this would be my last chance to hear Trump speak as President…I had no

idea that I would end up in the Capitol.” Lastly, Mr. Cunningham admits to posting images of

himself entering and walking through the Capitol. However, at no point did he steal or take any

items as trophies.




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       B.      History and Characteristics

       Mr. Cunningham experienced a difficult childhood. Although his needs were met, his

family moved often to support his father’s military career. (PSR at ¶53) For example, his family

lived in Texas, Arizona, and Pennsylvania. (PSR at ¶54) To further complicate living

arrangements, his mother suffered from schizophrenia, which resulted in Mr. Cunningham and

his sister living in foster care for six years. (PSR at ¶53) As a ward of the state, Mr. Cunningham

experienced isolation, separation anxiety, and all manner of abuse. (Id.)

       Despite difficulties in foster care, Mr. Cunningham successfully completed high school.

Mr. Cunningham explains, “I love to learn. I like learning about everything.” While in middle

school he enrolled in trade courses, which triggered his love of learning. Mr. Cunningham

successfully earned an Associate’s Degree in Mechanical Diesel Engineering from Nashville

Auto Diesel College. (PSR at ¶61) He also studied Hotel Restaurant Management and some

nursing. However, the Florida Health Institute put him out of the program due to his actions on

January 6, 2021. (Id.)

       Mr. Cunningham has a solid work history. For several years he has owned and operated

Fidelity Roofing and Home Remodeling, which focuses on high end home remodeling projects.

(PSR at ¶62) Mr. Cunningham also provides golf cart taxi services at music festivals and other

outdoor events. He also put his education in Hotel Restaurant services to good use as an

executive chef at Gaylord Hotel and Resort in Opryland.” (Id.)

       C.      Promoting Respect for the Law

       A three-year term of probation is sufficient to promote respect for the law. In this

instance, Mr. Cunningham has demonstrated respect for the law by speaking to law enforcement

and the F.B.I. regarding his conduct on January 6, 2021. Furthermore, he quickly accepted



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responsibility for entering the U.S. Capitol without permission. Mr. Cunningham’s case was

presented by Information on September 28, 2021 (D.E. 8) and fully demonstrated acceptance of

responsibility by entering a plea a mere five months later February 15, 2022. (D.E. 22) Had there

been an offer or fast track program, Mr. Cunningham would have reached an agreement early.

Considering the timing of the filing of the information, arraignment, and discovery, it is hard to

see how Mr. Cunningham could have pled guilty any sooner than he did.

       When a person’s circumstances or the nature of his offense warrant leniency, a sentence

of probation can promote greater respect for the law than would be achieved by a prison

sentence. As the Supreme Court explained in Gall, “a sentence of imprisonment may work to

promote not respect, but derision, of the law if the law is viewed as merely a means to dispense

harsh punishment without taking into account the real conduct and circumstances involved in

sentencing.” See Gall v. United States, 552 U.S. 38, 48, 54 (2007) (quoting district court opinion

with approval). The district court in Gall did “tak[e] into account the real conduct and

circumstances” of the defendant and varied from an advisory guideline range of 30 to 37 months

imprisonment to a sentence of 36 months’ probation. Id. at 593. In upholding the probation

sentence, the Supreme Court explained that the district court had reached a “reasoned and

reasonable decision that the § 3553(a) factors, on the whole, justified the sentence [of

probation].” Id. at 602. Mr. Cunningham encourages the Court to reach the same conclusion and

order a sentence of probation in his case.

       D.       Deterrence

       Here, deterrence can be achieved more effectively with a sentence of probation than a

sentence of incarceration. Although Mr. Cunningham has no prior felony convictions, he does

have minor infractions related to his driving license, which would not result in criminal history



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points under the Guidelines. Probation substantially restricts a person’s liberty and thus constitutes

a serious and meaningful consequence to criminal conduct. See Gall v. United States, 552 U.S. 38,

48 (2007). “Probationers may not leave the judicial district, move, or change jobs without

notifying, and in some cases receiving permission from, their probation officer or the court. They

must report regularly to their probation officer, permit unannounced visits to their homes, refrain

from associating with any person convicted of a felony[,] refrain from excessive drinking” and

comply with other special conditions like drug testing or participation in drug treatment. Id. (citing

U.S.S.G. § 5B1.3). Three years of probation is sufficient to deter Mr. Cunningham from future

crimes while signaling to the public that such actions can result in serious restrictions on an

otherwise free life.

       E.      The Need to Avoid Unwarranted Sentencing Disparities

       This Court must also impose a sentence that avoids “unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct” as

required by 18 U.S.C. 3553(a)(6). A three-year term of probation is consistent with other

sentences that have been handed down for similarly situated persons involved in the riot at the

Capitol. For example, other individuals who did not use violence, employ weapons, nor

vandalize Government property have received non-custodial sentences of probation or probation

with home detention. In fact, the majority of those already sentenced for this offense or similar

offenses have received a non-custodial sentence. Mr. Cunningham distinguishes himself from

others who have received a sentence of incarceration. For example, David Mish, D.D.C. No. 21-

cr-112(CJN) was sentenced to 30 days’ incarceration in part because of his lengthy criminal

history, which Mr. Cunningham does not have. Similalry, Jeremy Sorvisto, D.D.C. No. 21-cr-

320 (ABJ) was sentenced to 30 days incarceration after attempting to destroy evidence of his



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own participation. Rather than attempt to destroy evidence, Mr. Cunningham admitted his

involvement to law enforcement. Thus, the requested sentence is consistent with the sentences

imposed in other similar cases and will not produce unwarranted disparity.

IV.    Conclusion
       For all of the foregoing reasons, Mr. Cunningham respectfully requests that the Court

impose a sentence of probation, which is sufficient to address the sentencing factors expressed in

18 U.S.C 3553(a).

                                             Respectfully submitted,



                                             s/ Dumaka Shabazz
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2022, I electronically filed the foregoing Sentencing
Memorandum with the U.S. District Court Clerk by using the CM/ECF system, which will send a
Notice of Electronic Filing to the following: Samuel Dalke, Assistant United States Attorney,
228 Walnut Street, Suite 220, Harrisburg, PA 17101.

                                             s/ Dumaka Shabazz
                                             DUMAKA SHABAZZ




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